                 Case 4:93-cr-00082-JRH-GRS Document 979 Filed 10/14/15 Page 1 of 1


AO 247 (10/11)   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C.   3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)
                                                                                                                                                          FILCO
                                                           UNITED STATES DISTRICT COURT                                                           U.S. 9l`z T-R1-1-CT COURT
                                                                                                                                                     AM`1105TA M.
                                                                                       for the
                                                                    Southern District of Georgia                                                2115 CT 14 fl 11: 45
                                                                        Savannah Division
                       United States of America                                                                                             CLiRK.
                                                                                                                                                        so:D. T.ergp.
                                         V.
                                                                                         ) Case No: 4:93CR00082-13
                                Carl Douglas                                             ) USM No: 08340-021
                                                                                         )


Date of Original Judgment:         April 11, 1997                                        ) Robert Falligant, Jr.
Date of Previous Amended Judgment: March 12, 2008                                        ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)

                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


           Upon motion of LII the defendant El the Director of the Bureau of Prisons T the court under 18 U.S.C.

§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3 553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
[]DEN1ED. []GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
issued) of     months is reduced to


                                                    (Complete Parts land!! of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                              April 11, 1997,           shall remain in
IT IS SO ORDERED.                                                                                _-                                   ?
Order Date:                10/i


                                                                                             J. Randal Hall
Effective Date: November 1, 2015                                                             United States District Judge
                         (if different from order dare)                                                           Printed name and title
